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                                                                         2020 Jan-06 PM 01:39
                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


            IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION
JOSHUA CLAY ADAMS
Plaintiff
Versus                              Civil Action:
HUNTSVILLE HOSPITAL
Defendant
___________________________________________
             PLAINTIFF’S ORIGINAL COMPLAINT
___________________________________________
      TO THE HONORABLE JUDGES OF THIS COURT:

      Now comes Plaintiff, Joshua Clay Adams, complaining of

Defendant, Huntsville Hospital, and in support for his causes of

action respectfully shows this Court as follows:

                                   I.

             NATURE AND PURPOSE OF THIS ACTION
1.    Joshua Clay Adams satisfies the criteria as an individual with a

disability as an individual being regarded as having such an

impairment and has been subjected to an action prohibited by

Federal law and pursuant to the United States Constitution

because of an actual or perceived physical or mental disability.
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2.    Huntsville Hospital is a public entity within the definition of the

Rehabilitation Act of 1973 and Americans with Disabilities Act

engaged in the providing of mental health care, treatment and

services and is a recipient of federal funding.

3.    This is an action under Title II of the Americans with

Disabilities Act of 1990, as amended, and under Section 505 of the

Rehabilitation Act of 1973, which enforces Section 504 of the

Rehabilitation Act of 1973 to redress unlawful discrimination based

practices and to recover damages, economic and non-economic, for

violations of Plaintiff’s rights under the United States Constitution

and federal statutes on the basis of his perceived impairment.

                                II.

                 JURISDICTION AND VENUE

4.    This Court has personal jurisdiction over the parties, plaintiff

and defendants as a result of their domicile and residence in State in

which this District Court has jurisdiction.

5.    This Court has subject matter jurisdiction pursuant to

provisions of 28 U.S.C. sections 1331 and 1441. The causes of action

presented on behalf of Plaintiff arise under the laws of the United

States because the allegations present violations of Section 504 of the
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Rehabilitation Act of 1973 (as amended), 29 U.S.C. section 794, 794a

and Americans with Disabilities Act of 1990, 42 U.S.C. 12101 et seq.

and 42 U.S.C. 9501. This Court has subject matter jurisdiction

pursuant to the provisions of the Alabama Mental Health Consumer

Rights Act which extends the protections of the laws and Constitution

of the United States to individuals in mental health care facilities in

the State of Alabama.

6.    This Court has supplemental subject matter jurisdiction over all

claims that do not raise a federal question.

7.    Venue is proper in this District pursuant to the provisions of 28

U.S.C. 1391 (a) through (d) because, inter alia, substantial parts of

the events, commissions and/or omissions giving rise to the causes

of action occurred in the jurisdiction of the District Court and/or on

a substantial part of property that is subject to the jurisdiction of this

Court.

                                   III.

                               PARTIES

8.    Joshua Clay Adams is a resident and domiciliary of the State of

Alabama.
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9.     Huntsville Hospital is a mental health facility owned and

operated by the municipality of Huntsville, Alabama governed by a

Board of Directors comprising the Health Care Authority of

Huntsville appointed by the City of Huntsville, Alabama and is

therefore a “public entity” within the meaning of the ADA, 42 U.S.C.

12131 (1) and is subject to Title II of the ADA, 42 U. S. C. 12131 et seq

and its implementing regulations.

10.    At all relevant times Huntsville Hospital has been a “recipient”

of federal financial assistance, including funding through grants and

including Medicaid funds, and is therefore subject to the

Rehabilitation Act 29 U.S.C. 794 and its implementing regulations.

                                   IV.

       STATUTORY AND REGULATORY BACKGROUND

11.    Congress enacted the ADA in 1990 “to provide a clear and

comprehensive national mandate for the elimination of

discrimination against individuals with disabilities[.]” 42 U.S.C. 12101

(b) (1).

12.    Congress prohibited discrimination against individuals with

disabilities by public entities: [N]o qualified individual with a

disability shall, by reason of such disability, be excluded from
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participation in or be denied the benefits of the services, programs or

activities of a public entity, or be subjected to discrimination by any

such entity.” 42 U.S.C. 12132.

13.    Congress directed the Attorney General to issue regulations

implementing Title II of the ADA. 42 U.S.C. 12134. Title II

regulations require public entities to “administer services, programs

and activities in the most integrated setting appropriate to the needs

of qualified individuals with disabilities.” 28 C.F.R. 35.130 (d).

14.    Regulations implementing Title II of the ADA further prohibit

public entities from utilizing “criteria or methods of administration”

that have the effect of subjecting qualified individuals with

disabilities to discrimination or that have the purpose or effect of

defeating or substantially impairing accomplishment of the objectives

of the public entity’s program with respect to individuals with

disabilities. 28 C.F.R. 35. 130 (b) (3); accord 45 C.F.R. 84.4 (b) (4)

the Rehabilitation Act.

15.    Discrimination on the basis of disability is also prohibited by

Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. 794 (a): “No

otherwise qualified individual with a disability in the United States . .

. shall, solely by reason of her or his disability, be excluded from the
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participation in, be denied the benefits of, or be subjected to

discrimination under any program or activity receiving Federal

financial assistance or under any program or activity. . . “

                                   V.

                     STATEMENT OF FACTS

16.    Plaintiff presented himself voluntarily at the mental health

facility owned and operated by Defendant, Huntsville Hospital, on or

about January 15, 2018. Based upon his independent recollection

and medical records Plaintiff believes that the events took place in the

order and at the times stated herein.

17.    As reflected in the nurse’s notes Plaintiff was held against his will

almost immediately upon his arrival at Defendant’s facility.           The

nurse’s notes indicate that the interview with the unidentified

individual, Psych Screener” occurred after initially being held without

his consent and without voluntary admission.           The nurse’s notes

indicate creation of the entry for PREHOSPITAL CARE at 8:39 a.m.

and completion at 9:59 a.m. stating that “psych screener has not seen

patient. Security was notified for patient search. . . “
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18.    The medical record further indicates that the “Psych Screener

Disposition/Bed Request” was not completed until after Plaintiff has

been seized by personnel at the hospital and involuntarily

administered drugs. The nurse’s notes indicate that Plaintiff was

forcibly held down by “3 techs and security officer to deliver

medications” at 2:54 p.m. on January 15, 2018.

19.    The medical record further indicates that a physician was fully

aware and cognizant of the false imprisonment of Plaintiff and

approved the involuntary administration of medications, all without

lawful justification to restrain or to hold Plaintiff or to administer

medications.

20.    At no time did Plaintiff consent to admission let alone being

held down by three people and injected with medications.

21.    After holding Plaintiff against his will for two days and

threatening him with further imprisonment and involuntary

medications Plaintiff signed the presented forms for voluntary

admission on January 17, 2018 in order to get out of Defendant’s

hospital.

22.    Plaintiff was released on January 18, 2018.
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23.    All actions taken by Defendant were intentional and in direct

violation of the rights and liberties of Plaintiff as guaranteed through

the United States Constitution, federal statutes, the Rehabilitation Act

of 1974 and Americans with Disabilities Act, as amended;

implementing regulations and state law.

24.    Plaintiff was held against his will and falsely imprisoned by

Defendant acting through its employees, agents and representatives,

the unidentified “Psych Screener”; security personnel who held him

down and assisted in the injection of drugs against his will and

without his consent; nursing staff including but not limited to Nicole

Hollingsworth, R.N., Cindy Ratchford, R.N.; Steven Werdehoff,

M.D.; Morgan Lowry, P.A.; Tarak M. Vasavada, M.D.; Quratulain

Agha, M.D. and Pat Jackson.

25.    Plaintiff only signed the voluntary admission in order to effect

his release from confinement.

26.    There was no lawful cause for the false imprisonment.

27.    Upon his release on January 18, 2018 Plaintiff attempted to

address the violations through administrative process. The response

was a standard response letter which did not address any of the

violations and is further evidence that Defendant was fully aware of
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the rights of an individual with a disability such as Plaintiff and the

applicable State and Federal laws and regulations governing their

behavior.

28.    Despite knowledge and awareness Defendant engaged in the

behavior described in violation of the applicable Federal and State

statutes and the United States Constitution with the full knowledge

that the actions taken in deprivation of Plaintiff’s rights and liberties

was in violation of the law.

29.    Defendant acting knowingly and intentionally in its deprivation

of rights and liberties and/or in indifference to the rights and liberties

of Plaintiff.

30.    All damages and injuries suffered by Plaintiff were caused

directly and proximately by the actions and/or omissions of

Defendant.

                                     VI.

                                  VIOLATIONS
COUNT NO. 1
31.    All allegations of this Complaint are restated and reiterated
herein as if set forth in full.

32.    Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. 794 et

seq. and its implementing regulations require that any program or
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activity receiving Federal financial assistance may not discriminate

against any otherwise qualified individual with a disability. Programs

or activities covered by Section 504 include corporations or private

organizations principally engaged in the business of heath care

including mental health care, 29 U.S.C. 794 (b)(3). Under the

Amendments to the Americans with Disabilities Act, the definition of

a disability for purposes of the Rehabilitation Act of 1973 conforms to

the definitions of disability under the Americans with Disabilities Act,

29 U.S.C. 705 (20) (B).

33.    Section 504 protects individuals broadly not just those who

have a mental impairment or a record of impairment but also those

individuals who are “regarded as having such an impairment.” 45

C.F.R. 84.3 (j) (1) (iii). Specifically, 45 C.F.R. 84.3 (j)(2)(iv) defines

the term “regarded as having an impairment” to mean:

   (A)    Has a physical or mental impairment that does not

          substantially limit major life activities but that is treated by a

          recipient as constituting such a limitation;

   (B)    Has a physical or mental impairment that substantially

          limits major life activities only as a result of the attitudes of

          others toward such impairment: or
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   (C)    Has none of the impairments defined in paragraph (j)(2)(i)

          of this section but is treated by a recipient as having such an

          impairment.

34.    The breadth and scope of the protections against discrimination

against physically or mentally handicapped individuals protects those

individuals who are treated by the recipients of Federal financial aid

as being in need of treatment or admission to a mental health

institution whether that individual is in fact an individual with a

mental disability, whether the individual does or does need treatment

or admission to a mental health institution and have the protection of

the United States Constitution ensuring all constitutional and natural

rights of the individual to not be held against their will in a mental

health institution whether there is a need for them to be there or not.

35.    The Rehabilitation Act of 1973 and the applicability provisions

of the regulations apply to each recipient as well as the overall

program receiving financial assistance. 45 C.F.R. 84.2 (“This part

applies to each recipient of Federal financial assistance from the

Department of Health and Human Services and to the program or

activity that receives such assistance.”). In addition to the definition

of recipient including “any public or private agency, institution,
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organization, or other entity,” the definition define recipient to

include an individual through the inclusion of the following:

“Recipient means . . . any person to which Federal financial assistance

is extended directly or through another recipient, including any

successor, assignee or transferee of a recipient.” 45 C.F.R. 84. 3 (f).

36.    Each Defendant whether any public or private agency,

institution, organization or other entity as well as any person to which

Federal financial assistance is extended directly or indirectly are

subject to the applicability and enforcement regulations of the

Rehabilitation Act of 1973.

37.    Health care providers are specifically included as a recipient.

45 C.F.R. 84.51-55 (Subpart F – Health, Welfare and Social Services).

38.    It is a violation of the statute and regulations if health care

providers “[p]rovide benefits or services in a manner that limits or

has the effect of limiting the participation of qualified handicapped

individuals.” 45 C.F.R. 84.52 (4).

39.    A qualified handicapped person “is a handicapped person who

meets the essential eligibility requirements for the receipt of such

services. 45 C.F.R. 84.3 (l) (4).
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40.         As an example but not exclusively to Defendant or any other

recipient of Federal funding Formula grants are provided to the states

pursuant to Title 42 of the United States Code which provides in

pertinent part:

            300. Formula Grants to States

      (a)         In General

            For the purposes described in subsection (b), the Secretary,

acting through the Director of the Center for Mental Health Services,

shall make an allotment each fiscal year for each State in an amount

determined in accordance with section 300x-7 of this title. The

secretary shall make a grant to the state of the allotment made for the

state for the fiscal year if the State submits to the Secretary an

application in accordance with section 300x-6 of this title.

41.         The certification by the mental health care institution or doctor

for admission to an in-patient mental health facility certifies that the

individual meets the essential eligibility requirements for services. As

an individual “treated by a recipient as having such an impairment”

Plaintiff is a qualified individual with a disability.
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42.    Defendant is principally engaged in the business of serving

individuals with mental impairments and, in furtherance of that

business, are recipients of Federal financial assistance, and may not

discriminate against a person because of that individual’s status as a

qualified individual regarded as having an impairment.

43.    The actions taken by Defendant through the implementation

and administration of the services, programs and activities as to the

needs of qualified individuals with disabilities were intentional and

were taken beyond the limitations of deliberate indifference to the

rights and liberties of Plaintiff.

44.    Defendant through its employees, agents and representatives

were fully aware of the law as to false imprisonment and the rights of

all citizens and particularly those perceived to be disabled as a result

of mental health issues or disease not to be deprived of liberty

without due process as reflected in the Alabama statutes cited later in

this Complaint and despite this knowledge acted intentionally with

discriminatory animus and/or alternatively with deliberate

indifference to the rights of Plaintiff to hold him against his will and

to administer medications without his consent.
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45.    As a direct and proximate result of the actions, intentional

and/or in deliberate indifference to the rights and liberties of

Plaintiff, Plaintiff has suffered economic and non/economic damages.

COUNT NO. 2
46.    All allegations set forth in this Complaint are restated and

reiterated herein as if set forth in full.

47.    Americans with Disabilities Act of 1990 and as amended

effective January 1, 2009, 42 U.S.C. 12101 et seq. was enacted with

the express purpose “to provide a clear and comprehensive national

mandate for the elimination of discrimination against individuals

with disabilities; to provide clear, strong, consistent, enforceable

standards addressing discrimination against individuals with

disabilities; and to invoke the sweep of congressional authority,

including the power to enforce the fourteenth amendment and to

regulate commerce, in order to address the major areas of

discrimination faced day-to-day by people with disabilities.” 42

U.S.C. 12101 (b) (4).

48.    Disability as defined by the Act may be either actual or regarded

as having such a disability. 42 U.S.C. 12102.
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49.     An individual meets the requirement of “being regarded as

having such an impairment” if the individual establishes that he or

she has been subjected to an action prohibited under this chapter

because of an actual or perceived physical or mental impairment

whether or not the impairment limits or is perceived to limit a major

life activity. 42 U.S.C. 12102 (3) (A).

50.     Plaintiff experienced prohibited discrimination against him in

violation of the mandates of the statute and regulations protecting

and recognizing the individual rights and liberties enjoyed by an

individual regarded as having a disability in denial of his rights to

liberty and bodily integrity as a result of being held against his will by

Defendant from January 15, 2018 until his release on January 18,

2018.

51.     Pursuant to the provisions of the Americans with Disabilities

Act as amended the qualified individual with a disability who meets

the requirement of “being regarded as having such an impairment”

does not have to identify any major life activities or major bodily

functions that are substantially limited. ADA Amendments Act of

2008, Pub. L. No. 110-325 section 2 (a) (1), (4), (B) (1), (3) 42 U.S.C.
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12102 under “Historical and Statutory Notes” 29 C.F.R. 1630.1. (c) (4)

(2011).

52.    The duration or expected duration of the impairment is greater

than six months.

53.    The prohibited discrimination occurred because of the

perceived disability of Plaintiff as evidenced by the involuntary

admission of Plaintiff into Defendant’s mental health facility;

continued false imprisonment and violation of the Plaintiff’s rights

under Alabama state law all in reliance

54.    No qualified individual with a disability shall, by reason of such

disability, be excluded from participation in or be denied the benefits

of services, programs, or activities of a public entity, or be subjected

to discrimination by any such entity. 42 U.S.C. 12132.

55.    Title II’s definition section states that “public entity” includes

“any State or local government”, and any “department, agency, [or]

special purpose district.” Section 12131 (1) (A) (B). The same section

defines “qualified individual with a disability” as “an individual with a

disability who, with or without reasonable modifications to rules,

policies, or practices, the removal of architectural, communication, or

transportation barriers, or the provision of auxiliary aids and services,
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meets the essential eligibility requirements for the receipt of services

or the participation in programs or activities provided by a public

entity.” Section 12131 (2).

56.    Discrimination may include acts or omissions of Defendant

which deny due process, substantive and procedure as well as equal

protection guaranteed under the United States Constitution to all

persons as a result of disability, actual or regarded as having such a

disability.

57.    Remedies for violations of section 12132’s discrimination

prohibition are those available under section 505 of the

Rehabilitation Act of 1973, 29 U.S.C. 794a. “The remedies,

procedures, and rights set forth in section 505 shall be the remedies,

procedures, and rights this subchapter provides to any person

alleging discrimination on the basis of disability in violation of section

12132 of this title.”

58.    Section 505 of the Rehabilitation Act incorporates the remedies,

rights and procedures set forth in Title VI of the Civil Rights Act of

1964 for violations of section 504 of the Rehabilitation Act. 29 U.S.C.

794(a)(2).
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59.    Title VI directs each federal department authorized to extend

financial assistance to any department or agency of a State to issue

rules and regulations consistent with achievement of the objectives of

the statute authorizing financial assistance. 42 U.S.C. 2000d-1.

Compliance with such requirements may be effected by the

termination or denial of federal funds, or “by any other means

authorized by law.” Remedies both at law and in equity are available

for violations of the statute. 42 U.S.C. 2000d-7 (a) (2).

60.    “The Attorney General shall promulgate regulations in an

accessible format that implement this part.” Section 12134 (a). The

Attorney General’s regulations “shall be consistent with this chapter

and with the coordination regulations . . . applicable to recipients of

Federal financial assistance under [section 504 of the Rehabilitation

Act]”. Section 12134 (b).

61.    Section 504 regulations require recipients of federal funds to

“administer programs and activities in the most integrated setting

appropriate to the needs of qualified handicapped persons.” 28 CFR

41.51 (d).
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62.    The United States Attorney General issued Title II regulations,

see 28 CFR pt. 35 (1998) including one modeled on the section 504

regulation called the “integration regulation”:

63.    “A public entity shall administer services, programs and

activities in the most integrated setting appropriate to the needs of

qualified individuals with disabilities.” 28 CFR 35.130 (d) (1998).

64.    Unjustified institutionalization of a qualified individual with a

disability is discrimination in violation of the Americans with

Disabilities Act. Unjustified institutionalization of a qualified

individual with a disability or as in this case the involuntary

admission of an individual regarded as having a disability in an

inpatient mental health facility violates every principle of decency and

integrity possessed by all citizens including but not limited to the

right to liberty. Not only has the Plaintiff been denied his right to

liberty but he has also been damaged by the stigmatization of being

unable to handle and to manage his own life; diminishment of his self

perceived ability to cope with and to handle everyday life activities of

individuals, including his family relations, social contacts, work

options, economic independence, educational advancement, cultural

enrichment and enjoyment of life and liberties recognized and
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guaranteed to all persons by the United States Constitution and the

laws of the United States.

65.    Plaintiff has experienced both economic and non economic

damage as a result of being held against his will by Defendant and is

entitled to the recovery of all remedies and recovery available under

the applicable statutes including but not limited to the Americans

with Disabilities Act.

66.    The actions taken by Defendant through the implementation

and administration of the services, programs and activities as to the

needs of qualified individuals with disabilities were intentional and

were taken beyond the limitations of deliberate indifference to the

rights and liberties of Plaintiff.

67.    Defendant, through its employees, agents and representatives

were fully aware of the law as to false imprisonment and the rights of

all citizens and particularly those perceived to be disabled as a result

of mental health issues or disease not to be deprived of liberty

without due process as reflected in the Alabama statutes cited later in

this Complaint and despite this knowledge acted intentionally with

discriminatory animus and/or alternatively with deliberate
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indifference to the rights of Plaintiff to hold him against his will and

to administer medications without his consent.

COUNT NO. 3
68.    All allegations of this Complaint are restated and reiterated

herein as if set forth in full.

69.    42 U.S.C. 9501 sets forth the regulations adopted by the

Secretary of Health and Human Services relative to the provision of

mental health services by the States in order to ensure compliance

with the prohibitions against discrimination against qualified

individuals with a disability in the mental health system of each State

subject to The Rehabilitation Act of 1973 and Americans with

Disabilities Act.

70.    Section 9501. Bill of Rights provides in pertinent part as

follows:

             “It is the sense of Congress that each State should review

and revise, if necessary, its laws to ensure that mental health patients

receive the protection and services they require; and in making such

review and revision should take into account the recommendations of

the President’s Commission on Mental Health and the following:
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(1)     A person admitted to a program or facility for the purpose of

        receiving mental health services should be accorded the

        following:

        (A)   The right to appropriate treatment and related services

              in a setting and under conditions that-

              (i)        Are the most supportive of each person’s

                         personal liberty; and

              (ii)       Restrict such liberty only to the extent

                         necessary consistent with such person’s

                         treatment needs, applicable requirements of

                         law, and applicable judicial orders.

           (D)      The right not to receive a mode or course of

      treatment, established pursuant to the treatment plan, in the

      absence of such person’s informed, voluntary, written consent

      to such mode or course of treatment, except treatment-

                         (i)   during an emergency situation if such

      treatment is pursuant to or documented contemporaneously by

      the written order of a responsible mental health professional; or
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                             (ii)   as permitted under applicable law in the

        case of a person committed by a court to a treatment program

        or facility.

               (K)     The right to be informed promptly at the time of

        admission and periodically thereafter, in language and terms

        appropriate to such person’s condition and ability to

        understand, of the rights described in this section.

               (N)     The right to exercise the rights described in this

        section without reprisal, including reprisal in the form of denial

        of any appropriate, available treatment.

      (2)   (A)        The rights described in this section should be in

            addition to and not in derogation of any other statutory or

            constitutional rights.

      (D)   Each program or facility should post a notice listing and

            describing, in language and terms appropriate to the ability

            of the persons to which such notice is addressed to

            understand, the rights described in this section of all persons

            admitted to such program or facility.

COUNT NO. 4

71.     All allegations of this Complaint are restated and reiterated
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herein as if set forth in full.

72.    Plaintiff possesses a natural right to liberty. Plaintiff possesses

a natural right to freedom of expression and religion. Plaintiff

possesses a natural right to bodily integrity.

73.    Substantive due process is the constitutional doctrine that

protects individual’s rights from governmental infringement.

Substantive due process rights include those enumerated rights in the

United States Constitution such as the natural right to liberty and

bodily integrity and those unenumerated rights such as to refuse

medical treatment protected through both the Fifth Amendment and

Ninth Amendment. The natural rights to liberty, bodily integrity and

to refuse medical treatment are fundamental rights.

74.    The Due Process Clause protects liberty beyond physical

restraint and provides heightened protection against governmental

infringement with fundamental rights and liberty interests.

75.    The liberty interest recognized by the Substantive Due Process

Doctrine permits individuals to lead their lives free from

unreasonable and arbitrary government infringement. Substantive

Due Process Doctrine requires that the government not deprive a

person of life, liberty or property without sufficient justification.
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COUNT NO. 5

76.    Plaintiff has been deprived of his rights and liberties by

Defendant as guaranteed under the United States Constitution:

       Amendment I

       Congress shall make no law respecting an establishment of

religion, or prohibiting the free exercise thereof; or abridging the

freedom of speech, or of the press; or the right of the people

peaceably to assemble, and to petition the government for a redress of

grievances.

COUNT NO. 6

77.    Plaintiff has been deprived of his rights and liberties by

Defendant as guaranteed under the United States Constitution:

       Amendment V

       No person shall be held to answer for a capital, or otherwise

infamous crime, unless on a presentment or indictment of a grand

jury, except in cases arising in the land or naval forces, or in the

militia, when in actual services in time of war or public danger; nor

shall any person be subject for the same offense to be twice put in

jeopardy of life or limb; nor shall be compelled in any criminal case to
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be a witness against himself, nor be deprived of life, liberty, or

property, without due process of law; nor shall private property be

taken for public use, without just compensation.

COUNT NO. 7

78.    Plaintiff has been deprived of his rights and liberties by

Defendant as guaranteed under the United States Constitution:

             Amendment VIII

       Excessive bail shall not be required, nor excessive fines

imposed, nor cruel and unusual punishment inflicted.

COUNT NO. 8

79.    Plaintiff has been deprived of his rights and liberties by

Defendant as guaranteed under the United States Constitution:

             Amendment IX

       The enumeration in the Constitution, of certain rights, shall not

be construed to deny or disparage others retained by the people.

COUNT NO. 9

80.    Plaintiff has been deprived of his rights and liberties by

Defendant as guaranteed under the United States Constitution:
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             Amendment XIV

       Section 1.

       All persons born or naturalized in the United States, and subject

to the jurisdiction thereof, are citizens of the United States and of the

state wherein they reside. No state shall make or enforce any law

which shall abridge the privileges and immunities of citizens of the

United States; nor shall any state deprive any person of life, liberty, or

property, without due process of law, nor deny to any person within

its jurisdiction the equal protection of the laws.

       Section 5.

       The Congress shall have power to enforce, by appropriate

legislation, the provisions of this article.

81.    The Due Process Clause of the Fifth Amendment requires that

the United States government practice equal protection. The Equal

Protection Clause of the Fourteenth Amendment requires that the

states practice equal protection.

82.    Plaintiff was deprived of his constitutional rights and liberties

by Defendant as a result of his being regarded as an individual with a

disability and subjected to discrimination and deprivation of rights
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afforded to all citizens who are not regarded as individuals with a

disability.

83.    The First Amendment Right to expression and to religion were

deprived when Defendant cited expressions of free speech and

religion as a justification or lawful cause for false imprisonment.

84.    Plaintiff was deprived of his right to liberty intentionally,

willfully and arbitrarily by Defendant due to the interpretation by the

employees, agents and representatives of Defendant of the expression

of free speech and religion as “hyperreligiosity”. Defendant

interpreted the expression of free speech and religion as evidence of

“psychosis”. On these constitutionally protected expressions

Defendant literally imprisoned Plaintiff. Plaintiff in no way admits to

the accuracy or correctness of the reporting of any statements made

by him or as reflected in the medical record written and maintained

solely by Defendant.

85.    Plaintiff committed no crime, has not been charged with

violation of any law, state or federal, by any duly commissioned law

enforcement official.

86.    Plaintiff has not been made respondent in any proceeding

under state or federal law for a declaration of incompetence.
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Specifically, no proceeding has been instituted before a probate judge

for involuntary confinement or administration of drugs as outlined by

applicable Alabama law.

87.    Plaintiff was held against his will and thereby imprisoned by

Defendant, administered drugs without his consent and coerced into

signing a voluntary admission form in order to be released. Plaintiff

has been denied the equal protection of the law due to his status as an

individual regarded as having a disability and has been denied his

natural rights as a citizen which are guaranteed and protected by the

United States Constitution if he had been accused of any crime.

88.    Individuals accused of any crime are entitled to the protections

and guarantees against deprivation of constitutional rights however

the same protections and guarantees against deprivation of

constitutional rights are not extended or afforded individuals such as

Plaintiff who are individuals regarded as having a disability. Plaintiff

has been denied equal protection of the laws by the actions of

Defendant.

89.    Plaintiff was deprived of his First Amendment rights to freedom

of speech and religion through his false imprisonment for those
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expressions even assuming that such reports of such expressions

found in the medical record are accurate.

90.    Plaintiff was deprived of his Fifth Amendment rights to equal

protection of the law through his false imprisonment and denial of his

liberty without due process afforded to any other citizen and

specifically any other citizen accused of a crime. The Fifth

Amendment is equally effective to civil as well as criminal

proceedings.

91.    Under the Fifth Amendment a criminal accused must be

advised of his rights commonly referred to as Miranda warnings

however no such rights exists for individuals regarded as having a

disability who are subject to involuntary admission, false

imprisonment without due process by an entity such as Defendant.

None of the rights guaranteed to Plaintiff under the Fifth Amendment

were observed nor was due process for deprivation of his liberty and

constitutional rights.

92.    Plaintiff was deprived of his Fifth Amendment right to liberty

when he was held against his will, falsely imprisoned, by Defendant

without any due process whatsoever.
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93.    Plaintiff was deprived of his Eighth Amendment right to be free

from cruel or unusual punishment when he was held down by three

or more employees of Defendant and injected with drugs. The

involuntary administration of drugs to individuals accused or

convicted of a crime is prohibited without due process and the right

to be heard. The same rights against the involuntary administration

of drugs apply to Plaintiff who has not been accused of any crime nor

has been convicted of any crime let alone a civil proceeding.

94.    Plaintiff was deprived of his Ninth Amendment right to

substantive due process for protection of his non enumerated right

against the involuntary administration of drugs or medical treatment.

95.    Plaintiff has been deprived of further constitutional rights and

protections, the above recitation being only a non-exclusive list of

examples.

96.    All of Plaintiff’s constitutional rights and liberties are effective

against the State of Alabama and Defendant through the Fourteenth

Amendment.

97.    All deprivations of constitutional rights and liberties are in

addition to those rights and liberties protected through federal
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statutes enacted in furtherance of the authority granted Congress in

Section 5 of the Fourteenth Amendment.

                      VIOLATIONS OF STATE LAW
98.    Plaintiff incorporates all prior and subsequent paragraphs as if

fully restated and reasserted herein.

99.    This Court has supplemental jurisdiction to resolve all claims

that arise over such claims that are so related to those claims arising

under it’s original jurisdiction that those claims are part of the same

case or controversy. 28 U.S.C. 1367.

100. Violations of the Constitution of the State of Alabama and

statutes of the State of Alabama arising out of the events, acts and

omissions out of which the Federal claims are based are all part of the

same case or controversy giving rise to the Federal claims presented

in this Complaint.

101. Jurisdiction is proper in this case pursuant to 28 U.S.C. 1331 as

a federal question which provides as follows:

102. “The district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United

States.”

103. The case before this court is not based upon diversity of

citizenship or class action.
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COUNT NO. 10

104. Violations of the Mental Health Consumers’ Rights Act, Title

22-Health, Mental Health and Environmental Control. Title 2-

Mental Health. Chapter 56-Mental Health Consumers’ Rights Act.

Section 22-56-4-Rights.

105. Section 22-56-4 guarantees certain rights to all mental health

consumers in the State of Alabama including the following pertinent

rights:

   (a)    Consumers of mental health services have the same general

          rights as other citizens of Alabama. These rights include but

          are not limited to the following:

          (1)   The right to exercise rights as a citizen of the United

                States and the State of Alabama.

          (2)   The right to be served through general services

                available to all citizens.

                      ...

          (4)   The right to be presumed competent until a court of

                competent jurisdiction, abiding by statutory and

                constitutional provisions, determines otherwise.

                      ...
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                        (8) The right to make contracts.

                        ...

                        (13) The right to exercise rights without reprisal.

      (b)   In addition, the rights of consumers of mental health

services within inpatient, residential or outpatient settings include,

but are not limited to, the following:

            (1)   The right to access individualized mental health

            services.

            (2)   The right to participate in the treatment planning

            process, with material involved in this process presented

            in language appropriate to the consumer’s ability to

            understand.

            (3)   The right to be accorded human respect and dignity

            on an individual basis in a consistently humane fashion.

            (4)   The right to be fully informed, on an individual

            basis, when needed, concerning services provided, with

            information presented in a setting and in language

            appropriate to the consumer’s condition and ability to

            understand.
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       (5)   The right to a statement of any applicable charges

       for mental health services, itemized when possible, and

       the right to be informed of any limitations placed on the

       duration of services.

       ...

       (9)   The right to be free from any physical, verbal,

       sexual, or psychological abuse, exploitation, coercion,

       reprisal, intimidation, or neglect.

       ...

       (11) The right to be informed specifically of the

       procedures for initiating a complaint or grievance

       procedure and the applicable appeals process, including

       the means of requesting a hearing or review of the

       complaint.

       (12) The right to be informed of the means for accessing

       advocates, ombudsmen, or rights protection services

       within the program and, as applicable, the State of

       Alabama mental health system, the Alabama Department

       of Human Resources, the federal advocacy system, and
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       other advocacy services. Access must be allowed without

       reprisal.

       (13) The right to have access to courts and attorneys.

       (14) The right to enforce rights in a court of competent

       jurisdiction or appropriate administrative proceeding.

       (15) The right to use services in a safe and humane

       environment.

       (16) The right to be free from seclusion, physical

       restraints, drugs, or other interventions administered for

       purposes of punishment, discipline or staff convenience.

       Restraint, seclusion, or other intrusive treatments may be

       administered only in situations defined by established

       standards of medical care taking into consideration the

       health status of the individual and by applicable

       governing standards.

       (17) The right to refuse mental health services without

       reprisal except when refusals are not permitted under

       applicable law.

       ...
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           (22) The rights to conditions of mental health services

           which are supportive of each consumer’s personal liberty

           and restrict liberty only to the extent necessary, consistent

           with each consumer’s treatment needs, applicable

           requirements of law, and applicable judicial orders. The

           right applies to general rights within a clinical setting as

           well as to specific rights enumerated in subsection (b).

106. On or about January 15, 2018, Plaintiff went to Huntsville

Hospital voluntarily to seek mental health assistance.

107. Plaintiff was interviewed by an individual on behalf of

Defendant on or about January 15, 2018. The interview upon which

the involuntary admission was not recorded. Plaintiff did not provide

any written statement concerning any medical necessity for the

involuntary admission.

108. The only documentation in the possession of Plaintiff and

therefore he relies upon this documentation is a “Psych Screener

Disposition/ Bed Request” dated January 15, 2018 and bearing a time

of 1:17 p.m. on page 1 and 12:40 p.m. for the signature of Dr. Werd

and 12:41 for the signature of the Psychiatric Screener and identifying

a Psychiatrist, Dr. Agha, E.D. Physician Dr. Werd, Diagnosis of
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Psychosis and Involuntary Admission to the Behavioral Health Unit

of Defendant. This document bears the written but illegible name of

someone identified as “screener” followed by what appears to be the

initials “MA ALC”. In addition to the document identified as a “Psych

Screener Disposition/ Bed Request” Plaintiff’s medical record also

included a document entitled “Psychosocial History” dated January

15, 2018 and bearing a time of 11:45 a.m.

109. The documentation in the possession of Plaintiff and received

as a portion of his medical record from Defendant does not reflect or

indicate an evaluation or interview by anyone other than the

Psychiatric Screener. Specifically there is no apparent interview or

evaluation by a medical doctor prior to Plaintiff being held against his

will on January 15, 2018. Plaintiff did not voluntarily admit himself.

110. Plaintiff has no history of past psychiatric treatment as reflected

in the entries under paragraph 4 of the “Psych Screener Disposition/

Bed Request”. Plaintiff has no history of suicidal or homicidal

ideation and none was noted in paragraph 13 of the “Psych Screener

Disposition/Bed Request”.

111.    The diagnosis for which Plaintiff was involuntarily admitted

was “Psychosis” based solely and exclusively upon the unrecorded
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interview with the individual identified as a “Psychiatric Screener”.

Paragraph 14 of the “Psych Screener Disposition/Bed Request” Psych

Screener Impression: “Pt is having psychotic features and this is new

onset. Pt is hyper religious and not on any medication. My

recommendation is admission. Final Disposition and outcome

deferred to MD.”

112. No evidence of the qualification of the individual identified as

“Pscyh Screener” to make a diagnosis of “psychosis” is contained in

the medical record.

113. There is no evidence in the medical record supporting or

substantiating the diagnosis of “psychosis”.

114. There is no evidence in the medical record supporting or

substantiating any consideration of voluntary admission or out

patient services.

115. Plaintiff was held against his will without judicial determination

of his competency or of the need for involuntary admission.

116. The nurse’s notes of Defendant reflect that Plaintiff was held

against his will prior to the completion of the document entitled

“Psych Screener Disposition/Bed Request”. Specifically, the nurse’s
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note in Plaintiff’s medical record indicate the admission date of

January 15, 2018 however indicate the creation of those nurse’s notes

at 8:39 a.m. and completion at 9:59 a.m. Under the entry for

PREHOSPITAL CARE the following entries appear: “psych screener

has not seen patient. Security was notified for patient search. (-)

Patient in custody of type in, received to bed with handcuffs. Security

notified by ED Staff to bring forensic packet to bedside. Forensics

notification placed on bedrail.” Of particular importance is the

notation that (1) no psych prescreen had been conducted when

Plaintiff was held against his will but also there had been no medical

evaluation.

117. The nurse’s notes of Defendant reflect that on January 15, 2018

at 2.54 p.m. Plaintiff was forcibly and involuntarily administered

medication by injection. Plaintiff was forcibly held down by “3 techs

and security officer to deliver medications.” At this time Plaintiff was

demanding to be released from confinement.

118. The nurse’s notes contain a Physician Note: I have personally

interviewed and examined the patient and have reviewed the above

documentation by the Lowry, Morgan P.A. Pt with recent onset hyper

religiosity, decreased sleep, aggression toward wife at home c/w
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manic disorder with psychotic features. Admit for further

management.” Dated January 15, 2018 time 2:36 p.m.

119. Plaintiff was ultimately released from Defendant hospital on

January 18, 2018 at 8:24 a.m. but only after having been coerced and

threatened with further confinement and involuntary administration

of drugs if he did not sign the voluntary admission document.

120. At no time did Plaintiff consent to or agree to take the

medication demanded by Defendant. At no time was Plaintiff advised

as to the medication, type, strength or side effects nor was he allowed

to refuse administration of those medication.

121. On his involuntary admission Plaintiff was given an ultimatum

to either take the medication by mouth or involuntary injection.

Plaintiff was presented with this ultimatum while being held in a

hospital room dressed only in a hospital gown and surrounded by

hospital personnel. None of the required disclosures as to the

medication, dosage, possible side effects or other facts were made.

Plaintiff took at least one of the medications demanded. Plaintiff

experienced a reaction to the medication and was subsequently held

down and injected.
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122. On January 16, 2018 Plaintiff was again not advised as to any of

the medications being administered to him and was again told that he

did not have a choice as to whether or not to take the medication

because he was involuntarily admitted and that there were doctor’s

orders for the administration of the medications.

123. On January 17, 2018 Plaintiff was again administered

medications. On this occasion Plaintiff restated and reiterated his

lack of knowledge of the medications being administered and was

given a printed sheet of information of Geodon and Trileptal.

124. At no time was the proposed plan of treatment including

involuntary admission or involuntary administration of medications

or physical restraint by four individuals employed by Defendant

discussed with Plaintiff.

125. At no time was Plaintiff advised of his rights as a mental health

patient pursuant to 42 U.S.C. 9501 (1).

126. Plaintiff was presented with a form stating that he was a

voluntary admission on January 17, 2018. Plaintiff signed the

voluntary admission form presented under duress. It was made clear

that if he wished to be released he would have to cooperate with the
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demanded voluntary admission and medications. Plaintiff did not

meet Doctor Vasavada until January 17, 2018 when he was presented

with a voluntary admission form as a condition of release. Doctor

Vasavada stated that it would “be in my best interest” to sign the

voluntary admission form presented.

127. On January 18, 2018 Plaintiff was released. At the time of his

release Doctor Vasavada stated “your insurance will only pay for so

long.”

COUNT NO. 11

128. The procedure for placing restrictions upon the liberty of a

person sought to be committed pending hearing and ordering of

examinations of persons sought to be committed; supervision of

temporary treatment is set forth in Alabama Code Section 22-52-7.

129. As stated in the first line of the first paragraph of the code

section setting forth the procedure which must be followed in order to

hold a person against his will such as was done to Plaintiff herein the

filing of a petition seeking to have limitations placed upon the liberty

of a person such as Plaintiff shall be filed before the Probate Court of

the person’s residence and the decision to impose any limitation on
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the liberty of a person such as Plaintiff is limited solely to the

authority of the Probate Court. For the purposes of clarity the text of

Section 22-52-7 is reproduced with emphasis:

      (a)   When a petition has been filed seeking to have limitations

            placed upon the liberty of a respondent pending the

            outcome of a final hearing on the merits, the probate

            judge shall order the sheriff of the county in which the

            respondent is located to serve a copy of the petition upon

            the respondent and to bring the respondent before the

            probate judge instanter. When any respondent against

            whom a petition has been filed seeking to have limitations

            placed upon the respondent’s liberty pending the outcome

            of a full and final hearing on the merits is initially brought

            before the probate judge, the probate judge shall

            determine from an interview with the respondent and

            other available persons what limitations, if any, shall be

            imposed upon the respondent’s liberty and what

            temporary treatment, if any, shall be imposed upon the

            respondent pending further hearings. If limitations on

            the respondent’s liberty are ordered, the probate judge
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       may order the respondent detained under the provisions

       of this section at a designated mental health facility or a

       hospital.

 (b)   No limitations shall be placed upon the respondent’s

       liberty nor treatment imposed upon the respondent

       unless such limitations are necessary to prevent the

       respondent from doing substantial and immediate harm

       to himself or to others or to prevent the respondent from

       leaving the jurisdiction of the court. No respondent shall

       be placed in a jail or other facility for persons accused of

       or convicted of committing crimes.

 (c)   The probate judge shall order the respondent to appear

       at the times and places set for hearing and may order the

       respondent to appear at designated times and places to

       be examined by licensed medical doctors or qualified

       mental health professionals. If the respondent fails to

       appear as ordered by the probate judge, the probate

       judge may order the sheriff of the county in which the

       respondent is located to take the respondent into custody

       and compel the respondent’s attendance as ordered by
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            the probate judge. If temporary treatment or admittance

            to a hospital is ordered for the respondent, such

            treatment shall be supervised by a licensed medical doctor

            or qualified mental health professional who has willingly

            consented to treat the respondent, and admission to a

            hospital shall be ordered by a licensed medical doctor who

            has willingly consent to admit and treatment the

            respondent.

130. None of the individuals identified in the medical record whether

the “Psych screener” or any of the doctors purported to have

interviewed, examined and then not only taken Plaintiff into their

mental health facility and administered medications without consent

of Plaintiff are authorized to do so as probate judges.

131. All the individuals identified in the medical record would

potentially be witnesses at a hearing held before the probate judge to

give testimony as what limitations, if any, and what medications, if

any, should be placed upon the liberty of Plaintiff. None of the

individuals identified in the medical record are the judge and jury as

to what limitations on the liberty of Plaintiff or what medications he

should be administered against his will.
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COUNT NO. 12

132. False Imprisonment is a tort defined by Alabama state law

pursuant to Alabama Code Section 6-5-170 as follows:

      False imprisonment consists in the unlawful detention of the

person of another for any length of time whereby he is deprived of his

personal liberty.

133. Plaintiff was held against his will in a mental health facility and

deprived of his liberty unlawfully by Defendant from January 15,

2018 until his release on January 18, 2018.

134. At the time of his initial appearance at Defendant’s mental

health facility the initial questioning by the individual identified only

as “Psych Screener” was as to his insurance coverage.

135. Plaintiff was insured by Blue Cross Blue Shield.

136. After having held Plaintiff for three days against his will

unlawfully for the stated reason of mental illness and having charged

his insurance company for his unlawful detention he was released.

137. As a result of the unlawful detention with the purpose of

collecting payment from his insurance company Plaintiff has suffered

economic and non economic damage.
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                           PREVAILING PARTY
138. Plaintiff is entitled to be designated as the prevailing party in

this action and to be awarded reasonable attorney’s fees, including

litigation expenses, and costs.

                                  JURY TRIAL

139. Plaintiff requests trial by jury.

                 RECOVERY, REMEDIES AND DAMAGES

140. Plaintiff incorporates all prior and subsequent paragraphs as if

fully restated and re alleged herein.

141. As a direct proximate cause and/or as a producing cause of the

acts and/or omissions of Defendant described in this Complaint

Plaintiff has suffered injuries and damages for which Plaintiff seeks

recovery.

142. Plaintiff seeks full and fair compensation for actual damages

suffered.

143. Additionally and/or alternatively Plaintiff seeks full and fair

compensation in an amount to be determined by the jury upon trial of

this case for:

       past, present and future physical pain and suffering;
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     past, present and future mental anguish, anxiety,

embarrassment and other items of damage resulting from the

violations committed by Defendant;

     past, present and future emotional and psychological

impairment or damage;

     past, present and future medical and health care expenses

including but not limited to mental health care expenses;

     and/or

     any other actual or compensatory damages allowed by law;

     Attorney fees together with litigation costs;

     All costs of court and prejudgment and post judgment interest

at the maximum rate allowed by law;

     And any and all further relief available by law or equity.

                                 PRAYER

           WHEREFORE, Plaintiff prays that this Complaint be

filed; that Defendant by duly cited to appear and answer same; that

after all due proceedings are had that there by judgment in favor of

Plaintiff and against Defendant for an award of damages determined
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by the jury in this case to be fair and reasonable together with

attorney fees together with litigation costs; all costs of court and

prejudgment and post judgment interest at the maximum rate

allowed by law and any further relief available by law and equity.




                                     Respectfully submitted

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